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12
                                UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
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15
     KAREN MEEHAN, individually and on behalf         Case No.:
16   of all other persons similarly situated,

17                               Plaintiff,           CLASS ACTION COMPLAINT
18                  v.
19                                                    JURY TRIAL DEMANDED
     MAELYS COSMETICS USA INC. d/b/a
20   MAELYS,

21                               Defendant.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
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 1          Plaintiff Karen Meehan (“Plaintiff”) brings this action on behalf of herself and all others
 2   similarly situated against Defendant Maelys Cosmetics USA Inc. d/b/a Maelys (“Defendant” or
 3   “Maelys”). Plaintiff makes the following allegations pursuant to the investigation of her counsel
 4   and based upon information and belief, except as to the allegations specifically pertaining to
 5   herself, which are based on personal knowledge.
 6                                      NATURE OF THE ACTION
 7          1.      This is a putative class action lawsuit on behalf of purchasers of the B-FLAT Belly
 8   Firming Cream, B-THICC Booty Enhancing Mask, and B-TIGHT Lift & Firm Buttocks Mask (the
 9   “Products”).
10          2.      Specifically, Defendant represents and warrants that these cosmetic skin care
11   Products are “clinically proven” to, among other things, reduce cellulite, eliminate cellulite (i.e.,
12   “no more cellulite”), deliver results similar to a “tummy tuck” surgical procedure, flatten out /
13   reduce stretch marks and eliminate flabby skin (the “Advertised Benefits”). Defendant also utilizes
14   uniform false and deceptive advertising tactics to promote the Products online and at retail
15   locations, including the use of photoshopped “before-and-after” images to lure in vulnerable and
16   unsuspecting consumers. These outrageous false advertising tactics have worked, propelling
17   Defendant’s sales of the Products as best sellers online and at national retail stores.
18          3.      Unfortunately for consumers, the Products are neither “clinically proven” nor
19   capable of providing the Advertised Benefits.
20          4.      Accordingly, Plaintiff brings claims against Defendant individually and on behalf of
21   a Nationwide Class and California Subclass of all others similarly situated for (1) violation of
22   California’s Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq.; (2) violation of
23   California’s Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq.; (3) violation of
24   California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.; (4) Breach of
25   Express Warranty; (5) Breach of Implied Warranty; and (6) Unjust Enrichment.
26                                                 PARTIES
27          5.      Plaintiff Karen Meehan is a citizen of California residing in Concord, California.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                            1
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 1   On August 22, 2024, Plaintiff purchased the Products from Amazon.com while she was in
 2   California. Prior to her purchase, Ms. Meehan reviewed the warranties and representations made
 3   by Defendant on its Amazon sales page, including that the B-Tight Product is clinically proven to
 4   “reduce cellulite,” that the B-Flat Product is clinically proven to provide results “like a tummy
 5   tuck,” “flatten out stretch marks,” and eliminate “flabby skin,” and that the B-Thicc Product is
 6   clinically proven to “firm the skin” and “improve elasticity.” These warranties and representations
 7   were also accompanied by images showing dramatic “before-and after” results. Prior to her
 8   purchase, Plaintiff also viewed advertisements posted by Defendant on its own website,
 9   maelyscosmetics.com, Facebook and TikTok pages. In all, Plaintiff understood those
10   representations and warranties to mean that the Products could provide the Advertised Benefits.
11   Plaintiff relied on those representations and warranties in choosing the Products over comparable
12   products and skin treatments to provide skin benefits and in choosing to purchase the Products.
13   Even though Plaintiff used the Products as directed, she did not receive the Advertised Benefits.
14   Plaintiff would not have purchased the Products or would have paid less for them had she known
15   that Defendant’s representations and warranties with regard to the Advertised Claims were not true.
16   In making her purchase, Plaintiff Meehan paid a substantial price premium due to the false and
17   misleading Advertised Benefits. However, Plaintiff Meehan did not receive the benefit of her
18   bargain because the Products were, in fact, not capable of providing the Advertised Benefits.
19          6.      Plaintiff and the members of the Classes who purchased the Products did so relying
20   on Defendant’s claims that the Products provided the Advertised Benefits. Plaintiff and the
21   members of the Classes would not have purchased the Products, or would not have paid as much to
22   purchase them, had they known that they were, in fact, not capable of providing the Advertised
23   Benefits. Plaintiff and the members of the Classes thus suffered monetary damages as a result of
24   Defendant's false and deceptive representations and omissions.
25          7.      Defendant Maelys Cosmetics USA Inc. is a Delaware corporation with its principal
26   place of business in Staten Island, New York. Defendant manufactures, sells, markets, and/or
27   distributes cosmetic skin care products. Accordingly, the actions and practices giving rise to this
28   claim of action were developed in and emanated from Defendant. Defendant uses the same trade

      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       2
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 1   dress and marketing claims for sales directly through the Maelys website and third-party sellers
 2   like Amazon, Sephora and Ulta retail stores.
 3                                      JURISDICTION AND VENUE
 4           8.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A), as
 5   modified by the Class Action Fairness Act of 2005 (“CAFA”), because at least one member of the
 6   Class, as defined below, is a citizen of a different state than Defendant, there are more than 100
 7   Class Members, and the aggregate amount in controversy exceeds $5,000,000, exclusive of interest
 8   and costs.
 9           9.      This Court has general personal jurisdiction over Defendant because Defendant
10   markets and sells its Products in California. Defendant purposefully availed itself of this forum by
11   conducting substantial business within California such that Defendant has significant, continuous,
12   and pervasive contacts with the State of California.
13           10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant
14   transacts significant business within this District, Plaintiff resides within this District, and a
15   substantial part of the events giving rise to Plaintiff’s claims took place within this District.
16                                       FACTUAL ALLEGATIONS
17           A.      The Anti-Aging Industry

18           11.     Cosmetic skin care products are intended to be applied to the human body for

19   cleansing, beautifying, promoting attractiveness, or altering appearance in a superficial way,

20   without affecting the body's structure or functions. These products are part of the so-called “anti-

21   aging” industry; a multi-billion dollar cosmetic and skin care market, mainly targeted at women,

22   dedicated to providing methods to maintain youth.1 The name itself connotes a negative stance and

23   sentiment around aging, a natural human process that has become medicalized and pathologized in

24   recent decades, facilitated by technological advances in anti-aging approaches. The social

25   preoccupation and significance of anti-aging is evident in the rise of cosmetic procedures in adults

26

27   1
      Emily Stewart, How the Anti-Aging Industry Turns You into a Customer for Life, Vox (July 28,
28   2022), https://www.vox.com/the-goods/2022/7/28/23219258/anti-aging-cream-expensive-scam.


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 1   over a certain age. Indeed, as of 2018, 84% of adults who underwent minimally invasive cosmetic
 2   procedures and 81% of adults who underwent any cosmetic surgery were aged 35 or older.2
 3             12.    Individuals, especially women, are inundated with social messaging through popular
 4   culture, social media, and advertisements perpetuating the stigma around aging and elevating youth
 5   as the ideal beauty standard.3 The target age for anti-aging products for women starts at around
 6   25.4
 7             13.    Everlasting youth is the ultimate, though unattainable, goal in the anti-aging
 8   industry, making it the perfect marketing strategy.5 The strategy has proven effective: a 2021
 9   survey found that women spend about $225,000 on physical appearance in a lifetime, a quarter of
10   which goes toward the face.6
11             B.     Defendant’s Products
12             14.    Defendant manufactures, markets, and sells a number of purported facial and body
13   toning Products. The Products at issue are the B-FLAT Belly Firming Cream, B-THICC Booty
14   Enhancing Mask, and B-TIGHT Lift & Firm Buttocks Mask.
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                                                      Figure 1
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23   2
      Rebecca Pearl & Ivona Percec, Ageism and Health in Patients Undergoing Cosmetic Procedures,
24   39 AESTHETIC SURGERY J. NP288, NP288—NP289 (2018),
     https://academic.oup.com/asj/article/39/7/NP288/5139659.
25   3
         Emily Stewart, supra note 20.
26   4
         Id.
27   5
         Id.
     6
28       Id.


         CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                   4
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 1           15.    Defendant markets and sells the Products in multiple distribution channels
 2   including, but not limited to, the Maelys website, Amazon, Sephora, Target and Ulta stores.
 3   Defendant also utilizes an extensive network of online affiliates who are paid a commission for
 4   promoting the Products and driving sales to various websites controlled by Defendant.
 5                          1.      The Products Are Incapable of Delivering the Warranted
                                    Benefits
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             16.    By advertising the Products in the way that it does, Defendant promises, through
 7
     purported clinically proven methods and doctored “before-and-after” images, that its Products will
 8
     reduce cellulite, eliminate cellulite (i.e., “no more cellulite”), deliver results similar to a “tummy
 9
     tuck” surgical procedure, flatten out / reduce stretch marks and eliminate flabby skin. However,
10
     Defendant’s Products are neither clinically proven nor scientifically capable of delivering such
11
     benefits.
12
             17.    For example, studies have proven that over-the-counter cosmetic creams cannot
13
     reduce or eliminate cellulite because they only work on the skin's surface and do not address the
14
     underlying causes of cellulite, which are fat deposits pushing through connective tissue beneath the
15
     skin. As such, the effects of over-the-counter cosmetic creams are short-lived, and they cannot
16
     penetrate deeply enough to break down fat or alter connective tissue.7 Meaningful reduction of
17
     cellulite typically requires lifestyle changes or professional treatments such as laser therapy or
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     subcision that target the structural causes beneath the skin.8
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      https://www.researchgate.net/publication/275895699_Cellulite_An_Evidence-Based_Review
27   8
      Mayo Clinic Q and A: Can anything help cellulite? February 23, 2018.
28   https://newsnetwork.mayoclinic.org/discussion/mayo-clinic-q-and-a-can-anything-help-cellulite/


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19                                                Figure 29
20           18.    Similarly, while over-the-counter cosmetic creams can temporarily improve the
21   appearance of stretch marks and flabby skin, they cannot eliminate such conditions or repair
22   underlying structures.10 Long-term and noticeable improvements for both issues require
23   professional treatments such as microneedling, laser therapy, or surgical options.
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26     https://www.facebook.com/MaelysCosmetics/posts/do-you-want-to-reduce-your-cellulite-our-b-
     tight-lift-firm-booty-mask-is-clinica/1022437305108116/
27   10
      https://www.researchgate.net/publication/24375828_Striae_Distensae_Stretch_Marks_and_Differ
28   ent_Modalities_of_Therapy_An_Update


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11                                                Figure 311

12             19.   As for the alleged replication of a tummy tuck, once again, over-the-counter skin

13   care creams only work on the skin's surface, providing temporary hydration or mild tightening

14   without addressing loose muscles, significant skin laxity, or excess fat.12 A tummy tuck involves

15   surgically removing excess skin and fat while tightening abdominal muscles, delivering dramatic

16   and long-lasting results. Non-invasive treatments like radiofrequency, ultrasound therapy, or laser

17   treatments may improve skin elasticity and firmness but cannot achieve the transformative effects

18   of a tummy tuck because it is physiologically impossible. Despite this, Defendant declares in its

19   widespread advertising that its Products defy reality, providing the benefits of a surgical procedure

20   without any of the surgery or the procedure. Such marketing is patently false and misleading and

21   evinces Defendant’s gross disdain for the truth.

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          https://www.facebook.com/MaelysCosmetics/videos/261581072339263/
     12
28        https://pmc.ncbi.nlm.nih.gov/articles/PMC8722640/


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                                       Figure 4
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                Figure 5                                    Figure 6
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                           8
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 1           20.    What’s worse, Defendant markets its Products as “clinically proven” to achieve the
 2   Advertised Benefits. That is false. The Products have not been clinically tested or proven to
 3   reduce cellulite, eliminate cellulite (i.e., “no more cellulite”), deliver results similar to a “tummy
 4   tuck” surgical procedure, flatten out / reduce stretch marks, or eliminate flabby skin with
 5   competent reliable and scientific evidence.13
 6           21.    With full knowledge that the Products are not clinically proven or scientifically
 7   possible to provide the Advertised Benefits, Defendant commenced a uniform and sophisticated
 8   marketing campaign throughout the Class Period. For example, Figure 7 below demonstrates how
 9   Defendant utilizes Facebook to display a search link on Google where consumers are asked “Do
10   you want to reduce your cellulite? Our B-TIGHT Lift & Firm Booty Mask is clinically proven to
11   reduce cellulite…” By clicking on the search link, consumers are taken to a Facebook post by
12   Defendant with text and a video that repeats these claims and drives consumers to a sales page on
13   Defendant’s website.14
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19                                                   Figure 715
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21      https://www.ftc.gov/business-guidance/resources/health-products-compliance-guidance
     14
        https://www.facebook.com/MaelysCosmetics/posts/do-you-want-to-reduce-your-cellulite-our-b-
22   tight-lift-firm-booty-mask-is-clinica/1022437305108116/
     15
23      https://www.google.com/search?q=maelys+cellulite+facebook&client=firefox-b-1-
     d&sca_esv=f03bab0fa4fcd579&sxsrf=ADLYWILTQ65guHJKf0puTsB-
24   scvvE3ZB1g%3A1734502005700&ei=dWZiZ8m1KsmckPIP9MPOqQk&ved=0ahUKEwiJxKW_
     07CKAxVJDkQIHfShM5UQ4dUDCBI&uact=5&oq=maelys+cellulite+facebook&gs_lp=Egxnd3
25   Mtd2l6LXNlcnAiGW1hZWx5cyBjZWxsdWxpdGUgZmFjZWJvb2syBRAhGKABMgUQIRigATI
     FECEYoAEyBRAhGKABMgUQIRigAUiREFD8Bli7DnABeAGQAQCYAWagAfMFqgEDOC4x
26   uAEDyAEA-
     AEBmAIKoAKfBsICChAAGLADGNYEGEfCAgoQABiABBhDGIoFwgIFEAAYgATCAg4QLh
27   iABBiRAhjlBBiKBcICCxAAGIAEGJECGIoFwgIGEAAYFhgewgILEAAYgAQYhgMYigXCAg
     gQABiABBiiBMICCBAAGKIEGIkFwgIFECEYqwLCAgUQIRifBZgDAIgGAZAGCJIHAzkuM
28   aAHnjc&sclient=gws-wiz-serp


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 1          22.     Finally, Defendant also attempts to inject credibility into its marketing by using
 2   false and deceptive “before-and-after” images of alleged consumers who have used the Products to
 3   drive online sales and its retail partners. A reasonable consumer would have no reason to know or
 4   believe that the before-and-after images Defendant uses are not from the same person and/or are
 5   highly altered to give the appearance of improved results.
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                                                  Figure 8
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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       10
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 1          23.     Defendant has engaged in a massive marketing campaign, likely paying hundreds of
 2   thousands or millions of dollars in commissions to affiliates and other online influencers to publish
 3   false and deceptive before-and-after images of their “experiences” with the Products. Defendant
 4   will even post many of these images on its own social media and sales pages, including on
 5   Amazon, Tiktok, Facebook and Instagram. In this way, Defendant presents its Products as tried
 6   and true by other purported consumers who leave raving reviews about the efficacy of the
 7   Products, which scientifically cannot be true, thereby furthering its deceptive marketing scheme.
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27                           Figure 10                                      Figure 11

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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                    11
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15                                                Figure 12
16          24.     In view of the above, Defendant misled and deceived Plaintiff and other reasonable
17   consumers because, if they had known that the Products were not actually able to provide the
18   Advertised Benefits, Plaintiff and the members of the Classes would not have purchased the
19   Products or would have paid substantially less for them than they did. Defendant relies on the
20   average reasonable consumer having little to no knowledge about the science and technicalities
21   concerning viable skin rejuvenation and uses buzz words like “clinically proven” in its
22   advertisements to convince unsuspecting consumers that the Products are reliable and effective.
23   Moreover, Defendant’s false and deceptive advertising scheme has worked. Sales from the
24   Products have gone viral online and have likely generated hundreds of millions of dollars through
25   e-commerce and retail channels of distribution.
26                 FEDERAL RULE OF CIVIL PROCEDURE 9(b) ALLEGATIONS
27          25.     Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n alleging fraud
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 1   or mistake, a party must state with particularity the circumstances constituting fraud or mistake.”
 2   To the extent necessary, as detailed in the paragraphs above and below, Plaintiff has satisfied the
 3   requirements of Rule 9(b) by establishing the following elements with sufficient particularity.
 4           26.     WHO: Defendant made material omissions of fact in its advertising of the Products
 5   by omitting that the Products were not capable of providing the Advertised Benefits.
 6           27.     WHAT: Defendant’s conduct was and continues to be fraudulent and deceptive
 7   because it has the effect of deceiving consumers into believing that the Products are clinically
 8   proven to reduce cellulite, eliminate cellulite (i.e., “no more cellulite”), deliver results similar to a
 9   “tummy tuck” surgical procedure, flatten out / reduce stretch marks and eliminate flabby skin and
10   thus provide extensive skin benefits. Defendant omitted from Plaintiff and Class Members that the
11   Products cannot deliver these benefits. Defendant knew or should have known this information is
12   material to all reasonable consumers and impacts consumers’ purchasing decisions. Yet,
13   Defendant has omitted from Maelys’s labeling and advertising the fact that it cannot provide these
14   benefits.
15           28.     WHEN: Defendant omitted from the Maelys’s labeling and advertising the fact that
16   the Products are not clinically proven nor capable of reducing cellulite, eliminating cellulite (i.e.,
17   “no more cellulite”), delivering results similar to a “tummy tuck” surgical procedure, flattening out
18   / reducing stretch marks and eliminating flabby skin, continuously throughout the applicable
19   relevant periods, including at the point of sale.
20           29.     WHERE: Defendant’s omissions were made throughout its own marketing
21   materials on its website and product pages of secondhand sellers for Defendant’s Products and
22   were thus viewed by every purchaser, including Plaintiff, at the point of sale in every transaction.
23   The Products are sold online and in brick-and-mortar stores nationwide.
24           30.     HOW: Defendant omitted from the Products’ labeling and advertising the fact that
25   the Products are not clinically proven nor capable of reducing cellulite, eliminating cellulite (i.e.,
26   “no more cellulite”), delivering results similar to a “tummy tuck” surgical procedure, flattening out
27   / reducing stretch marks and eliminating flabby skin. And as discussed in detail throughout the
28

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 1   Complaint, Plaintiff and Class Members read and relied on Defendant’s omissions before
 2   purchasing the Products.
 3          31.     WHY: Defendant omitted from the Maelys’s labeling and marketing the fact that
 4   the Products are not clinically proven nor capable to reduce cellulite, eliminate cellulite (i.e., “no
 5   more cellulite”), deliver results similar to a “tummy tuck” surgical procedure, flatten out / reduce
 6   stretch marks and eliminate flabby skin for the express purpose of inducing Plaintiff and Class
 7   Members to purchase the Products at a substantial price premium or more than they would have
 8   paid had they known the truth about the Products. As such, Defendant profited by selling the
 9   Products to at least thousands of consumers throughout the nation, including Plaintiff and the Class
10   Members.
11                                   CLASS ACTION ALLEGATIONS
12          32.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations
13   contained in all preceding paragraphs of this complaint.
14          33.     Plaintiff seeks to represent a Nationwide class defined as:
15                  All persons in the United States who, within the applicable statute of
                    limitations period, purchased a B-FLAT Belly Firming Cream, B-
16                  THICC Booty Enhancing Mask, and B-TIGHT Lift & Firm Buttocks
                    Mask (the “Nationwide Class”).
17
            34.     Plaintiff also seeks to represent a California Sub-class defined as:
18                  All persons in California, who within the applicable statute of
                    limitations period, purchased a B-FLAT Belly Firming Cream, B-
19                  THICC Booty Enhancing Mask, and B-TIGHT Lift & Firm Buttocks
                    Mask (the “California Subclass”).
20
            35.     Specifically excluded from the Classes are: Defendant; Defendant’s officers,
21
     directors, agents, trustees, parents, children, corporations, trusts, representatives, employees,
22
     principals, servants, partners, joint ventures; entities controlled by Defendant; Defendant’s heirs,
23
     successors, assigns, or other person or entities related to or affiliated with Defendant and/or
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     Defendant’s officers and/or directors; the Judge assigned to this action; any member of the Judge’s
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     family and staff; Defendant's counsel; and Plaintiff’s counsel.
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            36.     Subject to additional information obtained through further investigation and
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     discovery, the foregoing definitions of the Nationwide Class and California Subclass (collectively,
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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       14
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 1   the “Classes”) may expand or narrow by amended complaint.
 2            37.   Numerosity. The Members of the Classes are so numerous that individual joinder
 3   of each member is impracticable. Upon information and belief, Plaintiff reasonably estimates that
 4   there are thousands of members of the Classes. Although the precise number of Class Members is
 5   unknown to Plaintiff at this time, it may be determined through discovery.
 6            38.   Commonality. Common questions of law and fact exist as to all Members of the
 7   Classes and predominate over any questions affecting only individual Nationwide Class or
 8   California Subclass Members. The common legal and factual questions include, but are not limited
 9   to:
10                  a.   Whether Defendant made false and/or misleading statements to the public
11                       concerning the efficacy of the Products;
                    b.   Whether Defendant’s Products produce the results Defendant warrants;
12
                    c.   Whether the features of the Products are sufficient to produce the results
13                       Defendant warrants;

14                  d.   Whether Defendant omitted material information to the consuming public
                         concerning the actual skin care and corrective capabilities of the Products;
15                  e.   Whether Defendant’s representations and partial representations were material
16                       to consumers;
                    f.   Whether Defendant’s omissions concerning the capabilities of the Products
17                       were likely to deceive a reasonable consumer;
18                  g.   Whether Defendant advertised the Products with the intent not to sell them as
                         advertised;
19
                    h.   Whether Defendant made and breached express and/or implied warranties to
20                       Plaintiff and the Classes concerning the Products’ capabilities;

21                  i.   Whether Defendant’s representations, omissions, and/or breaches caused injury
                         to Plaintiff and the Classes; and
22                  j.   Whether Plaintiff and the Classes are entitled to damages.
23
              39.   Typicality. Plaintiff’s claims are typical of the claims of the Members of the
24
     Classes in that the Class Members were deceived, or were reasonably likely to be deceived, in the
25
     same way by Defendant’s false and misleading Advertised Benefits of the Products. All Class
26
     Members were comparably injured by Defendant’s wrongful conduct as set forth herein. Further,
27
     there are no defenses available to Defendant that are unique to Plaintiff.
28

      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                      15
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 1          40.     Adequacy. Plaintiff will fairly and adequately protect the interests of the Class
 2   Members. Plaintiff has retained counsel that is highly experienced in complex consumer class
 3   action litigation, and Plaintiff intends to vigorously prosecute this action on behalf of the Classes.
 4   Furthermore, Plaintiff has no interests that are antagonistic to those of the Classes.
 5          41.     Predominance. Pursuant to Federal Rule of Civil Procedure 23(b), the common
 6   issues of law and fact identified above predominate over any other questions affecting only
 7   individual Members of the Classes. Issues affecting the Nationwide Class and California Subclass
 8   fully predominate over any individual issues because no inquiry into individual conduct is
 9   necessary; all that is required is a narrow focus on Defendant’s deceptive and misleading marketing
10   and labeling practices.
11          42.     Superiority. A class action is superior to all other available means for the fair and
12   efficient adjudication of this controversy. The damages or other financial detriment suffered by
13   individual members of the Classes are relatively small compared to the burden and expense of
14   individual litigation of their claims against Defendant. It would thus be virtually impossible for the
15   members of the Classes to obtain effective redress on an individual basis for the wrongs committed
16   against them. Even if members of the Classes could afford such individualized litigation, the court
17   system could not. Individualized litigation would create the danger of inconsistent or contradictory
18   judgments arising from the same set of facts. It would also increase the delay and expense to all
19   parties and the court system from the issues raised by this action. A class action provides the
20   benefits of adjudication of those issues on a single proceeding, economies of scale, and
21   comprehensive supervision by a single court, and presents no unusual management difficulties.
22
                                                COUNT I
23                 Violation of California’s Consumer Legal Remedies Act (“CLRA”)
                                      Cal. Civ. Code §§ 1750, et seq.
24                               (On Behalf of the California Subclass)
25          43.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations

26   contained in the preceding paragraphs of this complaint.

27          44.     Plaintiff brings this claim individually and on behalf of the Members of the

28   California Subclass against Defendant.


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 1          45.     Plaintiff and other Members of the California Subclass are “consumers” within the
 2   meaning of Cal. Civ. Code § 1761(d). By purchasing Defendant’s Products, Plaintiff and the
 3   Members of the California Subclass engaged in “transactions” within the meaning of Cal. Civ.
 4   Code §§ 1761(e) and 1770.
 5          46.     Defendant is a “person” within the meaning of Cal. Civ. Code § 1761(c).
 6   Defendant’s Products are a “good” within the meaning of Cal. Civ. Code § 1761(a).
 7          47.     Defendant’s unfair and deceptive business practices, as alleged above and herein,
 8   were intended to and did result in the sale of the Products.
 9          48.     As a direct and proximate result of Defendant’s unfair and deceptive business
10   practices, as alleged above and herein, Plaintiff and the California Subclass Members suffered
11   injury and damages in an amount to be determined at trial.
12          49.     Defendant violated California’s Consumer Legal Remedies Act (“CLRA”) by
13   engaging in the following unfair and deceptive business practices as alleged above and herein:
14                  a.     Defendant violated Cal. Civ. Code § 1770(a)(5) by representing that the
15                         Products have characteristics they do not have;
                    b.     Defendant violated Cal. Civ. Code § 1770(a)(7) by representing that the
16                         Products are of a particular standard and quality despite being of another; and
17                  c.     Defendant violated Cal. Civ. Code § 1770(a)(9) by advertising the Products
                           with the intent not to sell as advertised.
18
            50.     The CLRA was enacted to protect consumers against such practices. The CLRA
19
     applies to Defendant’s conduct because the statute covers all sales of goods to consumers.
20
            51.     On information and belief, Defendant’s unfair and deceptive business practices, as
21
     alleged above and herein, were willful, wanton, and fraudulent.
22
            52.     On information and belief, Defendant’s officers, directors, and/or managing agents
23
     authorized the use of misleading statements and material omissions regarding the Products’
24
     purported benefits as alleged herein.
25
            53.     On October 15, 2024, prior to the filing of this complaint, Plaintiff’s counsel sent
26
     Defendant a CLRA notice letter, which complies in all respects with Cal. Civ. Code § 1782(a).
27
     The letter was sent via certified mail, return receipt requested, advising Defendant that it was in
28

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 1   violation of the CLRA and demanding that it cease and desist from such violations and make full
 2   restitution by refunding the monies received therefrom. The letter stated that it was sent on behalf
 3   of Plaintiff and all other similarly situated purchasers. Defendant has not taken corrective action.
 4          54.     Plaintiff and California Subclass Members seek actual and punitive damages,
 5   restitution, reasonable costs and attorney’s fees, and to enjoin the unlawful acts and practices
 6   described herein pursuant to Cal. Civ. Code § 1780.
 7                                              COUNT II
                       Violation of California’s Unfair Competition Law (“UCL”)
 8
                                 Cal. Bus. & Prof. Code §§ 17200, et seq.
 9                                (On Behalf of the California Subclass)

10          55.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations

11   contained in all preceding paragraphs of this Complaint.

12          56.     Plaintiff brings this claim individually and on behalf of the Members of the

13   California Subclass against Defendant.

14          57.     Defendant violated California’s Unfair Competition Law (“UCL”), Cal. Bus. &

15   Prof. Code §§ 17200 – 17210, by engaging in unfair, fraudulent, and unlawful business practices.

16          58.     Plaintiff has standing to pursue this claim because she suffered an injury-in-fact and

17   lost money or property as a result of Defendant's unlawful, unfair, and fraudulent conduct.

18   Specifically, Plaintiff purchased her Product for her own personal use. In doing so, Plaintiff relied

19   upon Defendant’s false representations that the Product could provide the Advertised Benefits.

20   Plaintiff spent money in the transaction that she otherwise would not have spent had she known the

21   truth about Defendant’s advertising claims.

22   “Unfair” Prong of the UCL

23          59.     A business act or practice is “unfair” under the UCL if it offends an established

24   public policy or is immoral, unethical, oppressive, unscrupulous, or substantially injurious to

25   consumers. That unfairness is determined by weighing the reasons, justifications, and motives for

26   the business act or practice against the gravity of the harm alleged.

27          60.     Defendant’s conduct constitutes an “unfair” business practice because, as alleged

28   herein, Defendant engaged, and continues to engage in, false, misleading, and deceptive


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 1   advertising campaigns that mislead consumers into believing that the Products they purchased will
 2   provide the Advertised Benefits despite not being able to do so.
 3          61.     Defendant’s conduct, as alleged above and herein, was not motivated by any
 4   legitimate business or economic need or rationale, other than to maximize its revenue and the
 5   expense of consumers who sought skin regenerative benefits. No legitimate reasons, justifications,
 6   or motives outweigh the harm and adverse impact of Defendant’s conduct on members of the
 7   general consuming public. Defendant engaged, and continues to engage, in such conduct solely to
 8   wrongfully extract monies from reasonable consumers seeking the Advertised Benefits, including
 9   Plaintiff, to which Defendant is not entitled. Defendant could have, but has not, used alternative
10   means of effecting its legitimate business needs, such as by omitting the Advertised Benefits
11   entirely or discounting the Products to appropriately account for the Products’ functionality.
12          62.     Defendant’s conduct harms consumers and hurts market competition. Defendant’s
13   conduct, as alleged herein, is immoral, unethical, oppressive, unscrupulous, unconscionable, and/or
14   substantially injurious to Plaintiff and Members of the California Subclass because it violates
15   consumers’ reasonable expectations. If Defendant had advertised its Products in a non-misleading
16   fashion, Plaintiff and other California Subclass Members could have considered other options for
17   purchasing skin regenerative Products.
18   “Fraudulent” Prong of the UCL
19          63.     A business act or practice is “fraudulent” under the UCL if it is likely to deceive
20   members of the consuming public.
21          64.     Defendant has engaged in, and continues to engage, in, fraudulent business practices
22   by knowingly representing to consumers that the Products they purchase will provide them with
23   skin-regenerative benefits when they do not. Defendant’s conduct deceived Plaintiff and
24   California Subclass Members who purchased the Products in reliance on Defendant’s Advertised
25   Benefits and is highly likely to deceive members of the consuming public because, as alleged
26   above, the Products violate consumers’ reasonable expectations regarding skin rejuvenation. Such
27   a business practice lacks utility and functions only to maximize Defendant’s profits at the expense
28   of its customers. The gravity of the harm to Plaintiff and other California Subclass Members, who

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 1   lost money or property by paying for the Products, far outweighs the benefit to Defendant’s
 2   conduct.
 3          65.       Further, Defendant’s fraudulent business practices will continue to mislead
 4   consumers because it will be impossible for consumers to know whether Defendant has stopped
 5   misrepresenting the functionality of the Products as they concern their purported skin benefits.
 6   Accordingly, the risk of harm to Plaintiff, members of the California Subclass, and the consuming
 7   public, is ongoing.
 8   “Unlawful” Prong of the UCL
 9          66.       A business act or practice is “unlawful” under the UCL if it violates any other law
10   or regulation.
11          67.       Defendant’s business practices as alleged herein constitute violations of California’s
12   Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq. (the “CLRA”). Specifically,
13   Defendant has unlawfully marketed and advertised its Products in violation of Cal. Civ. Code §§
14   1770(a)(5), 1770(a)(7), and 1770(a)(9), as detailed above.
15          68.       Defendant’s business practices also constitute violations of California’s False
16   Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et. seq. (the “FAL”), as described below, and
17   provisions of California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et
18   seq.
19          69.       Defendant’s unfair, fraudulent, and unlawful business practices, as enumerated and
20   explained above and below, were the direct and proximate cause of financial injury to Plaintiff and
21   other members of the California Subclass. Defendant has unjustly benefited as a result of its
22   wrongful conduct. Accordingly, Plaintiff and the California Subclass seek an order of this Court
23   that includes, but is not limited to, requiring Defendant to: (a) provide restitution to Plaintiff and
24   the California Subclass; (b) disgorge all revenues obtained as a result of its violations of the UCL;
25   (c); and pay attorneys’ fees and costs for Plaintiff and the California Subclass.
26

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 1                                              COUNT III
                         Violation of California’s False Advertising Law (“FAL”)
 2
                                 Cal. Bus. & Prof. Code §§ 17500, et seq.
 3                                (On Behalf of the California Subclass)

 4          70.      Plaintiff hereby incorporates by reference and re-alleges herein the allegations

 5   contained in all preceding paragraphs of this complaint.

 6          71.      Plaintiff brings this claim individually and on behalf of the California Subclass

 7   Members against Defendant.

 8          72.      Defendant violated California’s False Advertising Law (“FAL”), Cal. Bus. & Prof

 9   Code §§ 17500, et. seq., by publicly disseminating false, misleading, and/or unsubstantiated

10   advertisements regarding its Products, as alleged above and herein.

11          73.      Plaintiff has standing to pursue this claim because she suffered an injury-in-fact and

12   has lost money or property because of Defendant’s false advertising. Specifically, Plaintiff

13   purchased her Product for her own personal use. In so doing, Plaintiff relied on Defendant’s false

14   and misleading representations regarding the Product’s capability to deliver cellulite reducing and

15   other skin rejuvenation claims. Plaintiff spent money in the transaction that she otherwise would

16   not have spent had she known the truth about Defendant’s claims.

17          74.      Defendant disseminated false and misleading advertisements to increase the sales of

18   the Products.

19          75.      Defendant knew or should have known that the advertisements for its Products were

20   false and/or misleading.

21          76.      Defendant knew or should have known that consumers, including Plaintiff and other

22   members of the California Subclass, would believe that the Products were capable of providing the

23   promised skin rejuvenation benefits.

24          77.      Plaintiff and the California Subclass Members have suffered harm as a result of

25   Defendant’s violations of the FAL because they paid monies for the Products that they would not

26   have purchased but for Defendant’s false and misleading advertisements.

27          78.      Accordingly, Plaintiff and members of the California Subclass seek an order of this

28   Court that includes, but is not limited to, requiring Defendant to: (a) provide restitution of Plaintiff


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 1   and other California Subclass Members; (b) disgorge all revenues obtained as a result of its
 2   violations of the FAL; and (c) pay attorneys’ fees and costs for Plaintiff and the California
 3   Subclass.
 4                                             COUNT IV
                                       Breach of Express Warranty
 5
                       (On Behalf of the Nationwide Class and California Subclass)
 6           79.    Plaintiff hereby incorporates by reference and re-alleges herein the allegations
 7   contained in all preceding paragraphs of this complaint.
 8           80.    Plaintiff brings this action individually and on behalf of Members of the Nationwide
 9   Class and California Subclass against Defendant.
10           81.    Plaintiff brings this claim under the laws of the State of California.
11           82.    As the designer, manufacturer, marketer, distributor, and/or seller of the Products,
12   Defendant issued an express warranty by representing to consumers that the Products would
13   provide the Advertised Benefits when the Products are unable to because they do not possess the
14   technological capacities necessary to produce such results.
15           83.    Defendant’s representations were part of the basis of the bargain upon which the
16   goods were offered for sale and purchased by Plaintiff and members of the Classes.
17           84.    As a direct and proximate result of Defendant’s breach, Plaintiff and Members of
18   the Nationwide Class and California Subclass were injured because they: (1) paid money for the
19   Products that were not what Defendant represented; (2) were deprived of the benefit of the bargain
20   because the Products they purchased were different than Defendant advertised; and (3) were
21   deprived of the benefit of the bargain because the Products they purchased had less value than
22   Defendant represented. Had Defendant not breached the express warranty by making the false
23   representations alleged herein, Plaintiff and the Nationwide Class and California Subclass
24   Members would not have purchased the Products or would not have paid as much as they did for
25   them.
26

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 1                                             COUNT V
                                       Breach of Implied Warranty
 2
                       (On Behalf of the Nationwide Class and California Subclass)
 3          85.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations
 4   contained in all preceding paragraphs of this complaint.
 5          86.     Plaintiff brings this claim individually and on behalf of the members of the
 6   Nationwide Class and California Subclass.
 7          87.     Plaintiff brings this claim under the laws of the State of California.
 8          88.     Defendant routinely engages in the manufacture, distribution, and/or sale of the
 9   Products and is a merchant that deals in such goods or otherwise holds itself out as having
10   knowledge or skill particular to the practices and goods involved.
11          89.     Plaintiff and Members of the Nationwide Class and California Subclass were
12   consumers who purchased Defendant’s Products for the ordinary purpose of such products. In the
13   alternative, Defendant marketed the Products, and Plaintiff and Members of the Classes purchased
14   the Products, for the specific purpose of receiving the Advertised Benefits but received far less
15   because the Products are incapable of providing such benefits.
16          90.     By representing that the Products would work, Defendant impliedly warranted to
17   consumers that the Products were merchantable, such that they were of the same average grade,
18   quality, and value as similar goods sold under similar circumstances.
19          91.     However, the Products were not of the same average grade, quality, and value as
20   similar goods sold under similar circumstances. Thus, they were not merchantable and, as such,
21   would not pass without objection in the trade or industry under the contract description.
22          92.     As a direct and proximate result of Defendant’s breach, Plaintiff and Members of
23   the Nationwide Class and California Subclass were injured because they paid money for the
24   Products that would not pass without objection in the trade or industry under the contract
25   description.
26                                             COUNT VI
                                           Unjust Enrichment
27                     (On Behalf of the Nationwide Class and California Subclass)
28          93.     Plaintiff hereby incorporates by reference and re-alleges herein the allegations


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 1   contained in all preceding paragraphs of the complaint.
 2          94.     Plaintiff brings this claim individually and on behalf of the Nationwide Class and
 3   California Subclass.
 4          95.     Plaintiff brings this claim under the laws of the State of California.
 5          96.     To the extent required by law, this cause of action is alleged in the alternative to
 6   legal claims, as permitted by Fed. R. Civ. P. 8.
 7          97.     Plaintiff and the Nationwide Class and California Subclass Members conferred
 8   benefits on Defendant by purchasing the Products.
 9          98.     Defendant was unjustly enriched in retaining the revenues derived from Plaintiff
10   and the Members of the Classes who purchased the Products. Retention of these monies under
11   these circumstances is unjust and inequitable because Defendant failed to disclose that the Products
12   were not capable of producing the Advertised Benefits, rendering the Products unfit for their
13   intended, marketed purpose. Those omissions caused injuries to Plaintiff and members of the
14   Classes because they would not have purchased the Products had they known the true capabilities
15   of the Products.
16          99.     Because Defendant’s retention of the non-gratuitous benefits conferred on it by
17   Plaintiff and the members of the Classes is unjust and inequitable, Defendant has been unjustly
18   enriched in an amount to be determined at trial.
19                                        PRAYER FOR RELIEF
20          WHEREFORE, Plaintiff, individually and behalf of all others similarly situated, seeks
21   judgment against Defendant, as follows:
22          (a)     For an order Certifying the Nationwide Class and California Subclass under Rule 23
23                  of the Federal Rules of Civil Procedure and naming Plaintiff as representative of the
24                  Nationwide Class and California Subclass;
25          (b)     Appointing Plaintiff’s counsel to represent the Nationwide Class and California
26                  Subclass;
27          (c)     Declaring that Defendant’s conduct violated the statutes and common law
28                  referenced herein;

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 1         (d)     Finding in favor of Plaintiff, the Nationwide Class, and California Subclass against
 2                 Defendant on all counts asserted herein;
 3         (e)     Ordering Defendant to disgorge and make restitution of all monies Defendant
 4                 acquired by means of the unlawful practices as set forth herein;
 5         (f)     Awarding declaratory and injunctive relief as permitted by law or equity, including:
 6                 enjoining Defendant from continuing its unlawful practices as set forth herein,
 7                 directing Defendant to identify, with Court supervision, victims of its conduct and
 8                 pay them all money they are required to pay;
 9         (g)     Awarding Plaintiff, the Nationwide Class, and California Subclass Members their
10                 costs and expenses incurred in the action, including reasonable attorneys’ fees.
11         (h)     Ordering Defendant to pay pre-judgment interest on all amounts awarded;
12         (i)     Providing such further relief as may be just and proper.
13
                                        JURY TRIAL DEMANDED
14
           Plaintiff demands a trial by jury of all issues so triable.
15
     Dated: February 5, 2025               BURSOR & FISHER, P.A.
16
                                           By:         /s/ L. Timothy Fisher
17
                                                           L. Timothy Fisher
18
                                           L. Timothy Fisher (State Bar No. 191626)
19                                         Luke Sironski-White (State Bar No. 348441)
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27
                                           Attorneys for Plaintiff
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 1             CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2   I, L. Timothy Fisher, declare as follows:
 3           1.       I am counsel for Plaintiff, and I am a partner at Bursor & Fisher, P.A. I make this
 4   declaration to the best of my knowledge, information, and belief of the facts stated herein.
 5           2.       The complaint filed in this action is filed in the proper place for trial because many
 6   of the acts and transactions giving rise to this action occurred in this District, and because Plaintiff
 7   alleges that she resides in this District.
 8           3.       Plaintiff alleges that she is a citizen of California and resident of Concord,
 9   California.
10           4.       Defendant sold its Products in California and sold skin care products to Plaintiff in
11   this District.
12           I declare under penalty of perjury under the laws of the State of California and the United
13   States that the foregoing is true and correct, and that this declaration was executed at Walnut
14   Creek, California this February 5, 2025.
15
                                                                      /s/ L. Timothy Fisher
16                                                                      L. Timothy Fisher

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      CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                       26
